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  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     Martin Vogel,                           Case No.

 12               Plaintiff,
                                                Complaint For Damages And
 13       v.                                    Injunctive Relief For Violations
                                                Of: American’s With Disabilities
 14     Norina Properties, LLC, a               Act; Unruh Civil Rights Act
        California Limited Liability
 15     Company; and Does 1-10,

 16               Defendants.

 17
 18         Plaintiff Martin Vogel complains of Norina Properties, LLC, a California

 19   Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as

 20   follows:

 21
 22     PARTIES:

 23     1. Plaintiff is a California resident with physical disabilities. He is a T3

 24   paraplegic who cannot walk and who uses a wheelchair for mobility.

 25     2. Defendant Norina Properties, LLC owned the real property located at or

 26   about 6846 Reseda Blvd., Reseda, California, in July 2019.

 27     3. Defendant Norina Properties, LLC owns the real property located at or

 28   about 6846 Reseda Blvd., Reseda, California, currently.


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  1     4. Plaintiff does not know the true names of Defendants, their business
  2   capacities, their ownership connection to the property and business, or their
  3   relative responsibilities in causing the access violations herein complained of,
  4   and alleges a joint venture and common enterprise by all such Defendants.
  5   Plaintiff is informed and believes that each of the Defendants herein,
  6   including Does 1 through 10, inclusive, is responsible in some capacity for the
  7   events herein alleged, or is a necessary party for obtaining appropriate relief.
  8   Plaintiff will seek leave to amend when the true names, capacities,
  9   connections, and responsibilities of the Defendants and Does 1 through 10,
 10   inclusive, are ascertained.
 11
 12     JURISDICTION & VENUE:
 13     5. The Court has subject matter jurisdiction over the action pursuant to 28
 14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 16     6. Pursuant to supplemental jurisdiction, an attendant and related cause
 17   of action, arising from the same nucleus of operative facts and arising out of
 18   the same transactions, is also brought under California’s Unruh Civil Rights
 19   Act, which act expressly incorporates the Americans with Disabilities Act.
 20     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 21   founded on the fact that the real property which is the subject of this action is
 22   located in this district and that Plaintiff's cause of action arose in this district.
 23
 24     FACTUAL ALLEGATIONS:
 25     8. Plaintiff went to the property in July 2019 to eat at Domino’s Pizza with
 26   the intention to avail himself of its goods and to assess the business for
 27   compliance with the disability access laws.
 28     9. Domino’s Pizza is a facility open to the public, a place of public


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  1   accommodation, and a business establishment.
  2     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  3   to provide wheelchair accessible parking in conformance with the ADA
  4   Standards as it relates to wheelchair users like the plaintiff.
  5     11. On information and belief, the defendants currently fail to provide
  6   wheelchair accessible parking.
  7     12. Additionally, on the date of the plaintiff’s visit, the defendants failed to
  8   provide wheelchair accessible paths of travel in conformance with the ADA
  9   Standards as it relates to wheelchair users like the plaintiff.
 10     13. On information and belief, the defendants currently fail to provide
 11   wheelchair accessible paths of travel.
 12     14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 13   personally encountered these barriers.
 14     15. As a wheelchair user, the plaintiff benefits from and is entitled to use
 15   wheelchair accessible facilities. By failing to provide accessible facilities, the
 16   defendants denied the plaintiff full and equal access.
 17     16. The failure to provide accessible facilities created difficulty and
 18   discomfort for the Plaintiff.
 19     17. The defendants have failed to maintain in working and useable
 20   conditions those features required to provide ready access to persons with
 21   disabilities.
 22     18. The barriers identified above are easily removed without much
 23   difficulty or expense. They are the types of barriers identified by the
 24   Department of Justice as presumably readily achievable to remove and, in fact,
 25   these barriers are readily achievable to remove. Moreover, there are numerous
 26   alternative accommodations that could be made to provide a greater level of
 27   access if complete removal were not achievable.
 28     19. Plaintiff will return to Domino’s Pizza to avail himself of its goods and


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  1   to determine compliance with the disability access laws once it is represented
  2   to him that Domino’s Pizza and its facilities are accessible. Plaintiff is currently
  3   deterred from doing so because of his knowledge of the existing barriers and
  4   his uncertainty about the existence of yet other barriers on the site. If the
  5   barriers are not removed, the plaintiff will face unlawful and discriminatory
  6   barriers again.
  7     20. Given the obvious and blatant nature of the barriers and violations
  8   alleged herein, the plaintiff alleges, on information and belief, that there are
  9   other violations and barriers on the site that relate to his disability. Plaintiff will
 10   amend the complaint, to provide proper notice regarding the scope of this
 11   lawsuit, once he conducts a site inspection. However, please be on notice that
 12   the plaintiff seeks to have all barriers related to his disability remedied. See
 13   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 14   encounters one barrier at a site, he can sue to have all barriers that relate to his
 15   disability removed regardless of whether he personally encountered them).
 16
 17   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 18   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 19   Defendants.) (42 U.S.C. section 12101, et seq.)
 20     21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 21   again herein, the allegations contained in all prior paragraphs of this
 22   complaint.
 23     22. Under the ADA, it is an act of discrimination to fail to ensure that the
 24   privileges, advantages, accommodations, facilities, goods and services of any
 25   place of public accommodation is offered on a full and equal basis by anyone
 26   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 27   § 12182(a). Discrimination is defined, inter alia, as follows:
 28             a. A failure to make reasonable modifications in policies, practices,


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  1                or procedures, when such modifications are necessary to afford
  2                goods,    services,    facilities,   privileges,   advantages,   or
  3                accommodations to individuals with disabilities, unless the
  4                accommodation would work a fundamental alteration of those
  5                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
  6            b. A failure to remove architectural barriers where such removal is
  7                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
  8                defined by reference to the ADA Standards.
  9            c. A failure to make alterations in such a manner that, to the
 10                maximum extent feasible, the altered portions of the facility are
 11                readily accessible to and usable by individuals with disabilities,
 12                including individuals who use wheelchairs or to ensure that, to the
 13                maximum extent feasible, the path of travel to the altered area and
 14                the bathrooms, telephones, and drinking fountains serving the
 15                altered area, are readily accessible to and usable by individuals
 16                with disabilities. 42 U.S.C. § 12183(a)(2).
 17     23. When a business provides parking for its customers, it must provide
 18   accessible parking.
 19     24. Here, accessible parking has not been provided in conformance with the
 20   ADA Standards.
 21     25. When a business provides paths of travel, it must provide accessible
 22   paths of travel.
 23     26. Here, accessible paths of travel have not been provided in conformance
 24   with the ADA Standards.
 25     27. The Safe Harbor provisions of the 2010 Standards are not applicable
 26   here because the conditions challenged in this lawsuit do not comply with the
 27   1991 Standards.
 28     28. A public accommodation must maintain in operable working condition


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  1   those features of its facilities and equipment that are required to be readily
  2   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  3      29. Here, the failure to ensure that the accessible facilities were available
  4   and ready to be used by the plaintiff is a violation of the law.
  5
  6   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  7   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
  8   Code § 51-53.)
  9      30. Plaintiff repleads and incorporates by reference, as if fully set forth
 10   again herein, the allegations contained in all prior paragraphs of this
 11   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 12   that persons with disabilities are entitled to full and equal accommodations,
 13   advantages, facilities, privileges, or services in all business establishment of
 14   every kind whatsoever within the jurisdiction of the State of California. Cal.
 15   Civ. Code §51(b).
 16      31. The Unruh Act provides that a violation of the ADA is a violation of the
 17   Unruh Act. Cal. Civ. Code, § 51(f).
 18      32. Defendants’ acts and omissions, as herein alleged, have violated the
 19   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 20   rights to full and equal use of the accommodations, advantages, facilities,
 21   privileges, or services offered.
 22      33. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 23   discomfort or embarrassment for the plaintiff, the defendants are also each
 24   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 25   (c).)
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  1          PRAYER:
  2          Wherefore, Plaintiff prays that this Court award damages and provide
  3   relief as follows:
  4       1. For injunctive relief, compelling Defendants to comply with the
  5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  6   plaintiff is not invoking section 55 of the California Civil Code and is not
  7   seeking injunctive relief under the Disabled Persons Act at all.
  8       2. Damages under the Unruh Civil Rights Act, which provides for actual
  9   damages and a statutory minimum of $4,000 for each offense.
 10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 12
      Dated: June 2, 2020              CENTER FOR DISABILITY ACCESS
 13
 14
                                       By:
 15
 16                                    _______________________

 17                                           Russell Handy, Esq.
                                              Attorney for plaintiff
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